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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

     In re:                                               §
                                                          §   Chapter 11
     KrisJenn Ranch, LLC,                                 §
                                                          §
              Debtor                                      §   Case No. 20-50805
                                                          §
                                                          §


     KrisJenn Ranch, LLC, KrisJenn Ranch,                 §
     LLC–Series Uvalde Ranch, and KrisJenn                §
     Ranch, LLC–Series Pipeline ROW, as                   §
     successors in interest to Black Duck                 §
     Properties, LLC,                                     §
                                                          §   Adversary No. 20-05027
              Plaintiffs,                                 §
                                                          §
     v.                                                   §
                                                          §
     DMA Properties, Inc. and Longbranch                  §
     Energy, LP,                                          §
                                                          §
              Defendants.                                 §


     DMA Properties, Inc.,                                §
                                                          §
              Cross-Plaintiff/Third-Party Plaintiff       §
                                                          §
     v.                                                   §
                                                          §
     KrisJenn Ranch, LLC, KrisJenn Ranch,                 §
     LLC–Series Uvalde Ranch, and KrisJenn                §   Adversary No. 20-05027
     Ranch, LLC–Series Pipeline ROW, Black                §
     Duck Properties, LLC, Larry Wright, and              §
     John Terrill,                                        §
                                                          §
              Cross-Defendants/Third-Party                §
              Defendants                                  §
                                                          §




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                        COUNTERCLAIMS AND THIRD-PARTY CLAIMS

               DMA Properties, Inc. (“DMA”) files the following counterclaims and third-party
     claims.

                                                 Parties
     1.        DMA Properties is a South Carolina corporation. Its principal place of business is

     located at 88 Wild Swan Lane, Minnesott Beach, North Carolina 28510.

     2.        KrisJenn Ranch, LLC is a Texas limited liability company. It can be served via its

     registered agent, Larry Wright, at 410 Spyglass Rd., McQueeney, Texas 78123.

     3.        KrisJenn Ranch, LLC–Series Uvalde Ranch is a Texas limited liability series. It can

     be served via its registered agent, Larry Wright, at 410 Spyglass Rd., McQueeney, Texas

     78123.

     4.        KrisJenn Ranch, LLC–Series Pipeline ROW is a Texas limited liability series. It can

     be served through registered agent Larry Wright at 410 Spyglass Rd., McQueeney, Texas

     78123.

     5.        Black Duck Properties, LLC is a Texas limited liability company doing business in

     Shelby County. It can be served via its registered agent, Larry Wright, at 410 Spyglass Rd.,

     McQueeney, Texas 78123.

     6.        Larry Wright is an individual residing at 410 Spyglass, McQueeney, Texas 78123 and

     may be served at his residence or wherever he may be found.

     7.        John Terrill is an individual residing at 12712 Arrowhead Lane, Oklahoma City,

     Oklahoma 73120 and may be served at his residence or wherever he may be found.




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                                        Jurisdiction and Venue
     8.     This Court has personal jurisdiction over KrisJenn Ranch, LLC, KrisJenn Ranch,

     LLC–Series Uvalde Ranch, KrisJenn Ranch, LLC–Series Pipeline ROW, Wright, and

     Terrill, because all are residents of Texas and/or Texas entities doing business in Texas.

     9.     This Court has jurisdiction over these counterclaims and third-party claims under 28

     U.S.C. § 1334 because this proceeding is a core proceeding under 28 U.S.C. § 157(b)(2)(k)

     concerning the determination of the validity extent, or priority of liens. Additionally, this

     proceeding is a core proceeding under § 157(b)(2)(I) concerning determination of the

     dischargeability of particular debts.

     10.    In the alternative, to the extent these proceedings or claims do not qualify as core

     proceedings under § 157(b), this Court has jurisdiction over these proceedings under 28

     U.S.C. § 157(c) because these proceedings are related to the underlying Chapter 11

     bankruptcy case and concern the property of the Debtor in that case. Those concerns must

     be resolved before the Debtor can effectuate a plan of reorganization.

     11.    Bankruptcy courts have jurisdiction over matters that are “related to” the

     bankruptcy. See In re Denney, 171 F.3d 1016, 1022 (5th Cir. 1999). A matter is “related to” a

     bankruptcy if the outcome of the proceeding may (1) alter the rights, obligations, and choices

     of action of the debtor; and (2) have an effect on the administration of the estate. In re Bass,

     171 F.3d 1016, 1022 (5th Cir. 1999). An adversary proceeding falls within the court’s “related

     to” jurisdiction if “the outcome of that proceeding could conceivably have an effect on the

     estate being administered in bankruptcy." In re Wood, 825 F.2d 90, 93 (5th Cir. 1987).




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                                         Summary of Dispute
     12.    DMA asserts these claims to protect (1) DMA’s 20% net-profits interest in a

     potentially lucrative pipeline right-of-way (2) DMA’s 50% interest in the note payments from

     Bigfoot Energy Services, LLC. Defendant Larry Wright—Moore’s former partner—and his

     entities have spent the last few years trying to steal that property. Because Wright refuses to

     honor the deal he made with Moore and has actively sought to defraud Moore and DMA,

     DMA now brings these claims so that this Court may recognize and enforce DMA’s rights.

                                         Factual Background

     A.     Wright and Moore form Black Duck Properties, LLC in 2016.

     13.    In 2015, Frank Daniel Moore—the founder and controlling member of DMA—

     relocated to Texas for two years to help investors identify opportunities in the oil and gas

     industry.

     14.    In Texas, Moore reconnected with Larry Wright, a professional poker player whom

     Moore had previously met through an investment deal.

     15.    After Wright indicated that he was interested in investing with Moore and that he

     had funds that he was eager to invest, both men agreed that Moore would provide “sweat

     equity” on future investments while Wright would provide capital to fund the deals.

     16.    Following these discussions, Moore and Wright began seeking investment

     opportunities, and Moore learned from Darin Borders—one of Moore’s contacts in the oil

     and gas industry—that an entity was considering selling four saltwater disposal (SWD) wells.

     17.    Moore performed due diligence on the wells and successfully negotiated a lower price

     for all four SWD wells.



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     18.     As the deal came together, Wright told Moore they should form one limited liability

     company (LLC) to handle future deals. Moore agreed, and they named the new entity Black

     Duck Properties, LLC.

     19.     Moore and Wright agreed that Wright’s entity—KrisJenn Ranch, LLC—would own

     50% of Black Duck, while Moore’s own entity—SCMED Oilfield Consulting—would own

     the other 50%. The stated purpose of the new entity was “[t]o purchase property and

     options” related to saltwater disposal (SWD) wells “as well as other properties in the state

     of Texas.” Wright, through KrisJenn Ranch, would provide the funding while Moore,

     through SCMED, would “introduc[e] opportunities” and “bring buyers” if appropriate.

     Wright confirmed that both SCMED and KrisJenn Ranch would seek buyers, as “[i]t should

     take all our joint efforts.”

     20.     About a year later, Black Duck bought a saltwater disposal well in Panola County

     known as the Harris SWD. Moore found a buyer for the well—Bigfoot Energy Services,

     LLC. But given the significant upfront repair costs to bring the well into regulatory

     compliance, Black Duck and Bigfoot agreed that Black Duck would owner-finance Bigfoot’s

     purchase of the Harris SWD.

     21.     In March 2017, Bigfoot paid $50,000 as a down payment and gave Black Duck a

     $450,000 promissory note for the remainder of the purchase price. Secured by the Harris

     SWD, the note requires quarterly payments in June, September, December, and March of

     each year until repayment is complete.




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     B.       Moore, along with Borders, secures the option to purchase a right-of-way in
              east Texas.

     22.      At the same time that they were discussing the SWD wells, Moore and Borders also

     took steps to purchase the pipeline right-of-way at issue in this case.

     23.      In the summer of 2015, Borders talked to Moore about a right-of-way running from

     Angelina County through Nacogdoches and Rusk Counties and across Shelby County in East

     Texas.

     24.      Borders contacted Rod Roberts, the president of Express Pipeline Connection,

     LLC—the then-owner of the right-of-way. Roberts eventually admitted that he would be

     willing to sell the right-of-way for $5 million and requested a $25,000 payment to secure the

     right to purchase the asset.

     25.      Moore and Borders subsequently secured by contract the right to purchase the right-

     of-way for $5 million through Longbranch (Borders’s entity).

     26.      On February 19, 2016, Borders and Roberts memorialized their agreement in writing.

     See Ex. 1 (the Purchase Agreement). The Purchase Agreement defined the assets

     Longbranch sought to buy and Express sought to sell as:

              Ownership interest in certain pipe and related facilities (commonly known as
              the P-21 pipeline) shown on the plat attached hereto as Exhibit “A”. and
              described on Exhibit “B” attached hereto, and the rights-of-way, easements,
              contracts, permits and leases described in Exhibit “C” attached hereto
              (collectively herein referred to as the “Express Pipeline”).

     27.      The Purchase Agreement set a 60-day due-diligence period and set closing for April

     19, 2016. It also allowed several extensions of the closing date and due-diligence period.




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     C.     Wright offers to fund the purchase of the right-of-way, and Longbranch assigns
            the Purchase Agreement to Black Duck in exchange for a 20% net-profits
            interest that attached and ran with the right-of-way.

     28.    When Wright learned about the right-of-way deal, he begged to be a part of it,

     claiming it was on his “bucket list” to do a pipeline. Wright immediately volunteered to

     supply all funds to purchase the right-of-way, representing that he had the cash on hand to

     fully fund the acquisition and maintenance of the right-of-way until a developer could be

     secured.

     29.    Borders and Moore consented to Wright’s role as the right-of-way funder through

     Black Duck. Wright reimbursed Moore and Borders for the $25,000 the two men had already

     paid, and Borders, on behalf of Longbranch, orally agreed to assign the Purchase Agreement

     to Black Duck. Wright and Moore, on behalf of Black Duck, orally agreed to give Longbranch

     a 20% net-profits share that would attach and run with the right-of-way.

     30.    Longbranch and Black Duck confirmed their agreement in writing. Ex. 2

     (Longbranch Assignment). The Longbranch Assignment expressly states:

            [Longbranch] shall be paid twenty percent (20%) (“Net Profits Share”) of the
            Net Profits from [Black Duck] or its successors or assigns during the period
            of time beginning on the date first written above (the “Period”).

                a. Net Profits shall mean gross revenues actually received by [Black Duck], or
                   its successors or assigns directly from the operation, use, maintenance, or sale
                   (including partial sales or conveyances) of the pipe and related facilities
                   commonly known as the P-21 or Express pipeline less actual cost of goods and
                   costs and expenses associated with the operation or sale of the same.

                b. [Black Duck’s] obligation to pay the Net Profits Share shall attach and run
                   with the P-21 or Express pipeline and [Black Duck] binds its successors and
                   assigns to the payment of the Net Profits Share.

     31.    Moreover, Longbranch and Black Duck specifically agreed “to execute such other

     and additional legal instruments, consents, ratifications and other matters as may be
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     reasonably required in order to effectuate the intent of this Assignment.” Ex. 2 (Longbranch

     Assignment).

     32.     Moore, Borders, and Wright all understood that Longbranch was giving up its right

     to purchase the right-of-way in exchange for a 20% net-profits share in the right-of-way that

     attached and ran with the land—and was binding on Black Duck’s successors and assigns.

     At no point did Longbranch indicate it was unable or unwilling to make the earnest money

     payments to Express to keep the Purchase Agreement alive.


     D.      Black Duck delays closing on the right-of-way but eventually closes.

     33.     Because due diligence required consulting voluminous boxes of paper records, due

     diligence took much longer than 60 days. Black Duck extended the closing date multiple

     times, paying earnest money for each extension.

     34.     While Black Duck—through the efforts of Moore and Borders—was performing its

     due diligence, Moore and Borders sought to identify buyers for the right-of-way. Although

     Moore, Borders, and Wright met and communicated with the leadership of several

     companies that expressed interest in purchasing the asset, interested investors repeatedly

     indicated that they were unwilling to purchase the right-of-way before Black Duck closed on

     the asset. After all, if Black Duck failed to close, these investors could always secure the right-

     of-way for themselves.

     35.     Despite these realities, Wright pushed to find a buyer before closing and as part of

     negotiations with investors made false representations that Black Duck had already closed

     on the right-of-way. When Moore learned that Wright was falsely representing that the right-




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     of-way had closed, Moore confronted Wright and demanded that Wright fully disclose the

     status of the right-of-way deal.

     36.     In response to Moore’s confrontation, Wright purported to clarify his

     representations but still misrepresented key facts, including the extent of Borders’s and

     Moore’s interests in the right-of-way. For example, Wright claimed Borders “stayed on as a

     15% partner” and that Moore only “own[ed] 35%” of Black Duck’s “85% of Contract” to

     purchase the right-of-way.

     37.     Ultimately, Black Duck was unable to find a buyer for its interest in the right-of-way

     without first closing on it.

     38.     As the new closing date approached (July 14, 2017), Wright sought to obtain an

     additional extension. Because Moore’s two years in Texas had finished, Moore was in the

     process of moving his family from Texas to North Carolina and had limited Internet access.

     Moore was not giving up on or abandoning the Purchase Agreement and never indicated he

     was doing so.

     39.     Longbranch, Black Duck, and Express agreed to extend the closing date once again,

     to August 14, 2017.

     40.     On July 13, 2017, Express’s attorney emailed Wright, Moore, and Borders a copy of

     a contract memorializing that extension agreement and asked that a signed copy of the

     extension agreement be returned to him. Wright returned a signed copy of that agreement

     on July 14, 2017. But because Moore was traveling and had limited Internet access, he sent

     two emails—one on Friday, July 14, 2017 and one on Monday, July 17, 2017—granting

     Wright full authority to sign on the agreement on his behalf. But Moore expressly directed



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    Wright in writing that “I do not want any documents signed on my behalf (goes without

    saying) that we have not discussed and agreed prior to one of you signing for me.”

    41.    On August 14, 2017, Black Duck closed on the right-of-way. A little over a month

    later, Borders notarized and recorded the Longbranch Assignment in Shelby County.

    42.    At all times before closing, Wright represented to Moore and Borders that he was a

    wealthy man and could easily fund the purchase of the right-of-way using his own funds. But

    Moore learned much later that Wright borrowed $4.1 million through KrisJenn Ranch to

    close the purchase of the right-of-way. Wright secured that loan through a first lien deed of

    trust on his ranch and certain minerals in Webb County, Texas.

    43.    Wright also represented that his capital contribution was to be his consideration for

    his interest in the right-of-way. Yet Wright now claims that his capital contribution was a

    loan to Black Duck.

    44.    Wright and KrisJenn Ranch’s alleged loans to Black Duck were neither disclosed nor

    authorized by Moore, who was a manager of Black Duck and whose entity owned 50% of

    Black Duck. Black Duck’s company agreement required transactions to be approved by

    disinterested management and, absent a special resolution (which did not exist here), also

    required the agreement of all managers to encumber Black Duck’s assets. Such approval was

    never granted.

    45.    Additionally, although the “loan documents” purport to evidence a loan transaction

    consummated on August 14, 2017, those documents—involving an undisclosed wrap-around




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    deed of trust using the right-of-way as collateral—were not executed or notarized until

    January 18, 2018.1


    E.     Wright forces Moore out of Black Duck, and Moore agrees to resign in
           exchange for some of Black Duck’s assets, including a running 20% net-profits
           interest in the right-of-way and an entitlement to 50% of Bigfoot’s note
           payments.

    46.    Meanwhile, throughout the fall of 2017, Black Duck sought a buyer for the right-of-

    way or an investor to finance the right-of-way’s development. Wright repeatedly objected to

    potential investors and deal terms, preventing a deal from being reached. Unbeknown to

    Moore, on January 19, 2018, Wright had recorded the undisclosed loan documents in

    Nacogdoches County.

    47.    At the end of January 2018, Wright grew increasingly hostile toward Moore,

    complaining that Moore had failed to secure a buyer for the right-of-way even though Moore

    had no such obligation. Swearing at Moore, Wright repeatedly stated that Moore had

    screwed up and that the right-of-way deal had failed. Wright told Moore that Moore needed

    to give up his interest in Black Duck. After several hostile conversations, Moore agreed to

    resign from Black Duck in exchange for a carried interest in the right-of-way and 50% of all

    note payments .

    48.    On February 3, 2018, Moore drafted an email with the terms of his resignation.

    Moore and Wright had already orally agreed on those terms. In exchange for relinquishing

    his 50% interest in Black Duck—which included his 50% interest in all of Black Duck’s assets,


    1Additionally, the trustee on the deed of trust—David Strolle—is a lawyer at the firm that
    drafted Black Duck’s company agreement. Strolle also appears to have prepared the loan
    documents—yet never disclosed those loan documents to Moore or to Moore’s entity,
    which was a 50% partner in Black Duck.
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    including the right-of-way—Moore would receive“[n]o less than 20% Carried Interest in the

    P-21 Express Pipeline . . . under the same terms and conditions as the [Longbranch

    Assignment]” through his entity DMA. Ex. 3 (Email Agreement). Moore requested the

    same terms and conditions as the Longbranch Assignment because he knew that it gave

    Borders a 20% net-profits share in the right-of-way itself that would attach and run with the

    right-of-way, binding not only Black Duck but also its successors and assigns.

    49.    Moore, via DMA, would also receive “[n]o less than 50% carried interest and 50%

    entitlement on all terms and conditions and monies owed to the Note to Black Duck

    Properties and Big Foot regarding the Harris SWD.” Id.

    50.    Wright and Black Duck expressly agreed to the written terms of Moore’s resignation

    via email, including the representation that the “Harris SWD is 100% FREE AND CLEAR

    OF ANY AND ALL DEBTS.” Id.

    51.    A little later, Moore and Wright signed formal documents memorializing the terms

    of the Email Agreement. Wright did not disclose to Moore or DMA the secret indebtedness

    to KrisJenn Ranch, LLC that Wright now claims.

    52.    One of the resignation documents—the DMA Agreement—states:

           DMA Properties shall be paid twenty percent (20%) (“Net Profits Share”) of
           the Net Profits from Black Duck Properties, LLC or its successors or
           assigns . . .

               a. Net Profits shall mean gross revenues actually received by Black Duck
                  Properties, LLC., or its successors or assigns directly from the operation, use,
                  maintenance, or sale (including partial sales or conveyances) of the pipe and
                  related facilities commonly known as the P-21 or Express pipeline less actual
                  cost of goods and costs and expenses associated with the operation or sale of
                  the same.




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               b. Black Duck Properties, LLC.’s obligation to pay the Net Profits Share shall
                  attach and run with the P-21 or Express pipeline and Black Duck Properties
                  binds its successors and assigns to the payment of the Net Profits Share.


    Ex. 4 (DMA Agreement).

    53.    And, like the Longbranch Assignment, the DMA Agreement specifically states that

    Black Duck and DMA “agree to execute such other and additional legal instruments,

    consents, ratifications and other matters as may be reasonably required in order to effectuate

    the intent of this Agreement.” Id.

    54.    Another of the resignation documents, titled the Harris SWD Agreement,

    “address[es] the obligations regarding the Harris SWD” from “the binding ‘Email

    Agreement’ (attached as Exhibit A ) dated Feb. 3, 2018.” Ex. 5 (Harris SWD Agreement) at

    1. The Harris SWD Agreement confirms that “DMA Properties . . . is entitled to receive 50%

    of all Gross Monies” paid on the Bigfoot note to “Black Duck Properties including its

    successors and assigns.” Ex. 5 (Harris SWD Agreement) at 1.

    55.    The Harris SWD Agreement states:

           In the event and for any reasons whatsoever Big Foot including but not
           limited to any of its successors and assigns fails to make the payments, then it
           is understood that DMA Properties, Inc. is a 50% carried interest party and
           will be entitled to 50% of any and all scenarios or outcomes including the full
           terms and conditions regarding the FULL original agreement by and between
           Black Duck Properties, LLC and Big Foot including but not limited to the
           Note payment and its terms and conditions.

    Id.




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    F.      Following Moore’s resignation from Black Duck, Wright immediately sells the
            right-of-way for $2.5 million and a 16% carried interest in a future waterline.

    56.     Two days after the documents memorializing Moore’s resignation were drawn up,

    Wright executed plans with another man, John Terrill, to sell the right-of-way to Terrill.

    57.     Terrill’s commitment to buy “the East Texas right-of-way (also known as the

    Express Gas Pipeline)” is dated February 9, 2018. Ex. 6 (Letter of Intent). According to the

    Letter of Intent, Terrill agreed to purchase Black Duck’s right-of-way for $2.5 million, with

    Black Duck retaining a 16% carried interest in a future waterline. Id. As it turns out, Terrill

    and Wright had secretly been working on this deal since December 2017—well before Moore

    had resigned from Black Duck.

    58.     On March 13, 2018, Terrill and Mr. Bobby Patton drafted documents to form a new

    LLC—TCRG East Texas Pipeline 1, LLC—for the “purpose of acquiring certain assets of

    Black Duck.” Ex. 7 (TCRG LLC Agreement). One of Patton’s entities, One Industries

    Group, L.P., took a 75% stake in TCRG while Terrill’s entity, Synergy Midstream, LLC, took

    a 25% stake. Id.

    59.     Shortly thereafter, on March 22, 2018, Wright and Patton executed the purchase

    agreement where Black Duck agreed to sell the right-of-way to TCRG. Ex. 8 (TCRG

    Purchase Agreement).

    60.     On April 3, 2018, Wright and Patton executed the deed transferring the right-of-way

    from Black Duck to TCRG. Ex. 9 (TCRG Deed). Conducting only minimal due diligence

    and completing the purchase quickly, TCRG received a quitclaim deed for the right-of-way.

    Id. The TCRG deed expressly disclaimed any warranties about the right-of-way. Id.




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    G.     Moore and Borders begin to uncover Wright’s schemes.

    61.    On April 4, 2018, Moore and Borders first learned that the right-of-way had likely

    been sold. Wright had set up a morning meeting with Borders but did not notify or invite

    Moore of the meeting. As Borders understood it, the purpose of the meeting was to introduce

    him to the new owner of the right-of-way, indicating the sale had closed.

    62.    Borders attended the meeting and met with Wright, Terrill, and Terrill’s father.

    Wright claimed Terrill needed to see the right-of-way and review the deeds. Borders agreed

    to take the men out to the right-of-way and hand over the deeds and supporting documents.

    63.    After the meeting, Borders, Wright, Terrill, and Terrill’s father drove out to the

    right-of-way. During the ride back, Borders told Terrill about his 20% interest in the right-of-

    way.

    64.    Following the drive to the right-of-way, Borders and Terrill visited Borders’s office,

    where Borders gave Terrill the paper copies of the deeds and supporting documents for the

    right-of-way.

    65.    After the meeting was over, Borders called Moore and informed him about the

    meeting. The two men then called Wright via a three-way call. Wright grew angry that

    Borders had called Moore and swore at both men.

    66.    Toward the end of the call, Wright promised to send Moore and Borders copies of

    the proposed deal and claimed that Terrill knew about Borders’s and Moore’s interests, and

    even had copies of the agreements documenting those interests. Wright also asserted that

    the sale of the right-of-way had not yet closed.

    67.    Wright never shared copies of the proposed deal with Borders and Moore or sent

    confirmation that Terrill knew about Borders’s and Moore’s interests.
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    68.    Given the radio silence from Wright, Moore emailed Terrill a copy of the DMA

    Agreement and copied Borders and Wright. Borders also shared the Longbranch Assignment

    with Terrill. Terrill responded by asking Moore to call him.

    69.    After the call, Moore relayed his conversation with Terrill to Borders and Wright via

    email. Moore indicated that Terrill claimed (1) the right-of-way-deal was 100% closed; (2) he

    had first learned of Borders and Moore’s interest from Borders on April 4; (3) Terrill and his

    group did not intend to honor Borders and Moore’s interests; and (4) Terrill had been

    working on the right-of-way deal for a long time.

    70.    On April 10, 2018, Borders emailed Wright and requested copies of the closing

    documents. Wright claimed that he was out of the United States and that he would send

    copies of the deal when he returned to the country on Tuesday, April 17, 2018. But just three

    days later, on April 13, 2018, Wright participated in a poker tournament in Florida, where he

    won $6,380.

    71.    In his response to Borders’s email, Wright also provided a short description of the

    alleged terms of the deal: Terrill’s group paid a $500,000 down payment and closed with an

    additional $2 million for all assets owned by Black Duck that were received from Roberts in

    2017. In exchange for these assets, Wright claimed Black Duck also received a 16% carried

    interest in the new joint venture. Wright said Borders and Moore would each receive 20% of

    the 16% carried interest for the life of the project while Wright would receive the remaining

    60% of the 16% interest.

    72.    On April 11, 2018, Wright’s attorney, David Strolle, emailed Moore and told him to

    stop contacting any person concerning “the P-21 Express Gas Pipeline/ROW.” Strolle



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    claimed that the right-of-way deal had not yet closed and that Moore’s actions jeopardized

    the closing.

    73.       On or about April 20, 2018, TCRG funded the purchase of the right-of-way.

    74.       Moore and Borders finally learned that deal had closed months after the deed

    conveying to TCRG Black Duck’s interest in the rights and properties “collectively referred

    to herein as the ‘Express Pipeline’” was recorded on June 6, 2018. See Ex. 9 (TCRG Deed)

    at 1-2.

    75.       It took several months and review of countless emails to discover the extent of

    Wright’s and Terrill’s lies. After uncovering some of Wright’s lies, Moore recorded his

    interest in the right-of-way in Angelina, Rusk, Shelby, and Nacogdoches Counties.

    76.       If Moore had known or suspected that Wright had crafted a scheme to sell the right

    of way and claim Moore only had an interest in Black Duck’s profits (instead of a running

    net-profits interest that attached to the right-of-way), he would not have agreed to resign

    from Black Duck. Nor would Moore have given up his right to 50% of Black Duck’s profits

    in exchange for 20% of its profits from the sale of the right-of-way (which was, by far, Black

    Duck’s most valuable asset).


    H.        Black Duck abruptly stops paying DMA its share of Bigfoot’s note payments
              for the Harris SWD, and Wright attempts to steal DMA’s property.

    77.       After Moore’s resignation, DMA received 50% of Bigfoot’s March 2018 note

    payment and 50% of Bigfoot’s July 2018 note payment. But Moore never received DMA’s

    portion of the September 2018 note payment. When Moore reached out to Wright to learn

    why, Wright offered a series of different explanations on why payment was late. But at no



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    point in any of these communications did Wright assert that DMA was not entitled to 50% of

    Bigfoot’s note payments.

    78.     While Wright was offering Moore reasons why DMA’s portion of the note payment

    was late, Wright was taking steps to steal Moore’s interest in the note payments. On October

    12, 2018, attorney David Strolle sent a letter to Bigfoot on behalf of KrisJenn Ranch. Ex. 10

    (October 12, 2018 Letter). The letter purported to provide “formal notice” of an assignment

    transferring 100% of Black Duck’s interest in the Bigfoot note to KrisJenn Ranch. Id. at 1.

    79.     Mr. Strolle’s October 12, 2018 letter included a copy of the alleged assignment,

    which states that Black Duck transferred its interest in Bigfoot Energy’s note to KrisJenn

    Ranch, LLC and KrisJenn Ranch, LLC–Series Uvalde Ranch as partial payment of the

    balance due on a note dated August 14, 2017 for $4.1 million between KrisJenn Ranch as

    lender and Black Duck as borrower. Ex. 11 (Assignment of Note) at 1. The assignment

    represents that KrisJenn Ranch “foreclosed” on the August 14, 2017 promissory note. Id.

    80.     But, as previously mentioned, that alleged note and the loan it claims to secure were

    never disclosed to or authorized by Moore, who was a manager of Black Duck and whose

    entity owned 50% of Black Duck in August 2017. Nor is there any evidence that the Bigfoot

    note was ever listed as collateral for the alleged loan.


    I.      Wright threatens to “kill the 20% each of you own” of the right-of-way and
            again claims that KrisJenn Ranch had foreclosed on its alleged loan to Black
            Duck.

    81.     Moore and Borders continued investigating Black Duck’s sale of the right-of-way and

    sought a peaceful solution with TCRG, Wright, and Wright’s entities. But in the spring of

    2019, Wright emailed Moore and Borders that if Moore did not stop his conversations with


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    TCRG, then Wright would “end the 20% and file [m]alicious charges against you and all your

    forfeited Companies in the State of Texas.” Ex. 12 (April 16, 2019 Email). Likewise, Wright

    threatened “to kill the 20% each of you own.”

    82.    Despite Wright’s threats, Moore and Borders continued discussions with TCRG,

    which eventually led TCRG to demand that Wright rescind the sale of the right-of-way.

    Wright—through another of his entities, KrisJenn Ranch, LLC Series Pipeline ROW (Series

    Pipeline)—refunded TCRG’s $2.5 million and accepted the return of the right-of-way.

    83.    Wright and his entities now claim that KrisJenn Ranch “foreclosed” on the alleged

    loans Black Duck owed. But contradicting that assertion, KrisJenn Ranch and Wright

    claimed in July 2019 that the loan secured by a lien on the right-of-way was paid; they filed a

    release of lien in Rusk County that “acknowledge[d] its payment and release[d] the property

    from the lien.” Ex. 13 (Release of Lien).

    84.    Black Duck, KrisJenn Ranch, LLC, and KrisJenn Ranch, LLC–Series Uvalde Ranch

    have provided no records of any foreclosure (despite repeated requested for such records).


    J.     Wright has repeatedly tried to escape from his agreements with DMA and
           Moore.

    85.    Wright has lied to Moore and DMA and disregarded his agreements with and

    promises to Moore (and Moore’s entities) time and again. Wright told Moore, his partner,

    that he would provide capital to fund Black Duck’s investments, but later represented his

    capital contribution was an unauthorized “loan” to Black Duck. He transferred to Moore’s

    entity, DMA, a 20% net-profits interest in the right-of-way and a 50% interest in Bigfoot note

    in exchange for Moore’s departure from Black Duck, but then denied that DMA had any



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    such interest. And he conspired with his entities and with Terrill and TCRG to sell the right-

    of-way behind Moore’s back and in disregard of DMA’s interest in the right-of-way.

    86.    Wright has treated Borders no better, also denying that Borders had any interest in

    the right-of-way. To resolve the issue, Borders (via Longbranch) filed suit in Shelby County

    on June 26, 2019, seeking a declaration of who owns what share of the right-of-way

    (Longbranch suit). That same day, Wright and some of his entities filed a parallel suit in the

    25th Judicial District in Guadalupe County seeking the same declaratory relief (Wright suit).

    87.    But, because Guadalupe County was not a proper venue, the 25th District Court

    transferred the Wright suit to Shelby County.

    88.    In Shelby County, the district court heard Wright’s motion for summary judgment,

    which asked the court to construe the Longbranch Assignment and the DMA Agreement in

    Wright’s favor as a matter of law—just like KrisJenn Ranch is asking for the Court to do

    here. The Shelby County court unequivocally denied Wright’s request for summary

    judgment and, eventually, consolidated the Wright suit into the Longbranch suit.

    89.    Simultaneously with the Shelby County proceedings, Bigfoot filed an interpleader

    action in Panola County so it could pay its note payments into the court registry. In that case,

    DMA filed a summary-judgment motion, asserting a 50% interest in the Bigfoot note

    payments as a matter of law. DMA’s motion was originally set for a hearing on May 6, 2020.

    90.    With Wright’s discovery obligations finally coming due in the Shelby County

    lawsuits2 and DMA’s Panola County summary-judgment motion set for a hearing, Wright




    2DMA and Moore were forced to file a motion to compel Wright, KrisJenn Ranch, LLC,
    and Black Duck to respond to discovery in the Shelby County court.
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    filed for bankruptcy for his KrisJenn entities. Around the same time, DMA learned that

    Wright and KrisJenn Ranch, LLC had covertly borrowed $5.9 million from McLeod Oil,

    LLC and extended McLeod an option to purchase the right-of-way for $6,000,000.

    91.    Now, in a fourth court, Moore and DMA again seek to protect their property from

    Wright’s fraud and his attempts to escape his promises.


                 Claims Related to the Pipeline Right of Way

                                   Claim 1: Breach of Contract
      (against Wright, Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series
                Uvalde Ranch, KrisJenn Ranch, LLC–Series Pipeline ROW)

    92.    The preceding paragraphs are incorporated by reference for this claim.

    93.    The February 4, 2018 Email Agreement and the DMA Agreement are valid,

    enforceable contracts. DMA attaches the February 4, 2018 Email Agreement as Exhibit 3

    and the DMA Agreement as Exhibit 4 to this pleading. Both contracts are incorporated by

    reference.

    94.    By these contracts, Wright, on behalf of himself and Black Duck, agreed that Moore

    would receive, among other things, “[n]o less than 20% Carried Interest in the P-21 Express

    Pipeline . . . under the same terms and conditions as the [Longbranch Assignment]” through

    his entity DMA.

    95.    By resigning from Black Duck and relinquishing his 50% interest, Moore performed

    or substantially performed his contractual obligations.

    96.    DMA is the intended third-party beneficiary of the February 3, 2018 Email

    Agreement and the DMA Agreement.



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    97.    DMA is a proper party to sue for breach of the February 3, 2018 Email Agreement

    and the DMA Agreement.

    98.    KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and/or KrisJenn

    Ranch, LLC–Series Pipeline ROW are the successors to Black Duck.

    99.    In addition and alternatively, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series

    Uvalde Ranch, and/or KrisJenn Ranch, LLC–Series Pipeline ROW were assignees of the

    obligation to pay DMA 20% of net profits earned through the P-21/Express right-of-way

    because DMA’s net-profits share attached and ran with the right-of-way.

    100.   Black Duck Properties, LLC, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series

    Uvalde Ranch, KrisJenn Ranch, LLC–Series Pipeline ROW, and Wright materially breached

    the February 3, 2018 Email Agreement and the DMA Agreement in multiple respects,

    injuring Moore and DMA.

    101.   DMA seeks its actual damages and/or specific performance of the contract, including

    the obligation to “execute such other and additional legal instruments, consents, ratifications

    and other matters as may be reasonably required in order to effectuate the intent of [the

    DMA] Agreement.” Ex. 4 (DMA Agreement).

                                Claim 2: Money Had and Received
      (against Wright, KrisJenn Ranch, LLC, Black Duck, KrisJenn Ranch, LLC–Series
             Uvalde Ranch, and/or KrisJenn Ranch, LLC–Series Pipeline ROW)

    102.   The preceding paragraphs are incorporated by reference for this cause of action.

    103.   Wright, KrisJenn Ranch, LLC, Black Duck, KrisJenn Ranch, LLC–Series Uvalde

    Ranch hold the entirety of the proceeds from the multiple sales of the right-of-way.




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    104.   20% of the net profits from the sales of the right-of-way belong to DMA in equity and

    good conscience.

    105.   DMA’s injury resulted from Wright’s gross negligence, malice, or actual fraud,

    which entitles DMA to exemplary damages under Texas Civil Practice and Remedies Code

    §41.003(a).

                                Claim 3: Breach of Fiduciary Duty
                                 (against Wright and Black Duck)

    106.   The preceding paragraphs are incorporated by reference for this cause of action.

    107.   Black Duck and Wright had a fiduciary relationship with DMA, and Black Duck and

    Wright acted as custodians and agents of payment for DMA.

    108.   Black Duck and Wright received the entirety of the payments from the sale of the

    right-of-way—20% of the $2.5 million Black Duck received from TCRG. Upon receipt, Black

    Duck and Wright were supposed to process those payments and pay 20% to DMA.

    109.   By failing to process and pay 20% of net profits to DMA, Black Duck and Wright

    breached fiduciary duties arising out of this relationship.

    110.   DMA was damaged as a result of the breach and seeks actual damages as well as an

    accounting of Black Duck, imposition of a constructive trust on all property and proceeds

    received by Wright and/or his entities in connection with the right-of-way, and disgorgement

    of profits received by Wright and/or his entities (including but not limited to KrisJenn

    Ranch, LLC–Series Pipeline ROW).




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                    Claim 4: Aiding and Abetting Breach of Fiduciary Duty
       (against Black Duck, KrisJenn Ranch LLC, KrisJenn Ranch, LLC–Series Uvalde
               Ranch, KrisJenn Ranch, LLC–Series Pipeline ROW, and Terrill)

    111.   The preceding paragraphs are incorporated by reference for this cause of action.

    112.   As explained in Claim 3, Wright and Black Duck breached fiduciary duties owed to

    DMA.

    113.   Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch,

    KrisJenn Ranch, LLC–Series Pipeline ROW, and/or Terrill aided and abetted those

    fiduciary breaches.

    114.   Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and

    KrisJenn Ranch, LLC–Series Pipeline ROW are controlled and/or owned by Wright.

    115.   Wright utilized these entities to aid and abet his breaches of fiduciary duty.

    116.   Additionally, Terrill aided and abetted Wright’s breaches of fiduciary duty by

    cooperating with Wright’s attempts to deny and ignore DMA’s 20% interest in all profits

    earned through the right-of-way.

    117.   Although Terrill understood that Wright and Black Duck owed fiduciary duties to

    DMA, Terrill aided and abetted Wright’s efforts to breach those fiduciary duties through

    concealment of the sale and denial of DMA’s right to 20% of all profits earned through the

    right-of-way.

    118.   Terrill also lied to Borders regarding the status of the sale of the right-of-way in order

    to conceal details of the sale from Borders, Moore, and DMA.

    119.   DMA seeks actual damages resulting from these efforts to aid and abet Wright’s

    fiduciary breaches.


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    120.   DMA also seeks disgorgement of all ill-gotten profits, interests, and funds procured

    by Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, KrisJenn

    Ranch, LLC–Series Pipeline ROW, and/or Terrill as a result of Wright’s and Black Duck’s

    breaches of fiduciary duty. DMA further seeks the imposition of a constructive trust on all

    property and proceeds received by Wright and/or his entities in connection with the right-

    of-way, and disgorgement of profits received by Wright and/or his entities (including but not

    limited to KrisJenn Ranch, LLC–Series Pipeline ROW).

                          Claim 5: Tortious Interference with Contract
      (against Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde
                                    Ranch, and Terrill)

    121.   The preceding paragraphs are incorporated by reference for this cause of action.

    122.   The February 3, 2018 Email Agreement and the DMA Agreement are valid,

    enforceable contracts.

    123.   Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch,

    KrisJenn Ranch, LLC–Series Pipeline ROW, and Terrill willfully and intentionally

    interfered with these contracts, through the conduct described above, including the conduct

    described in Claims I, III, and IV.

    124.   DMA has been proximately injured as a result of this interference.

    125.   DMA seeks actual damages resulting from this interference as well as injunctive relief

    prohibiting Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch,

    KrisJenn Ranch, LLC–Series Pipeline ROW, and Terrill from continuing to interfere with

    Wright and Black Duck’s obligations to Moore and DMA under the February 3 Email

    Agreement and DMA Agreement.


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                                Claim 6: Fraud (in the alternative)
                                (against Wright and Black Duck)

    126.   The preceding paragraphs are incorporated by reference for this cause of action.

    127.   Black Duck and Wright represented to Moore and DMA that DMA would receive,

    among other things, a 20% net-profits interest in the P-21/Express right-of-way that attached

    and ran with the right-of-way.

    128.   Black Duck and Wright’s representations to Moore and DMA were material and

    false statements of fact.

    129.   Alternatively, Black Duck and Wright’s representations were false promises of future

    performance. At the time they made those promises, Black Duck and Wright had no

    intention of performing or honoring them.

    130.   Black Duck and Wright knew that their representations were false and intended

    Moore and DMA to rely on them.

    131.   Moore and DMA justifiably relied on Black Duck and Wright’s false representations

    when Moore resigned from Black Duck and relinquished his ownership stake. That reliance

    was both reasonable and substantial.

    132.   Black Duck and Wright’s false representations directly and proximately caused

    injury to Moore and DMA.

    133.   Black Duck and Wright knew, or reasonably should have known, that Moore and

    DMA would rely on their promises.

    134.   Moore and DMA’s injury resulted from Black Duck and Wright’s actual fraud, gross

    negligence, or malice, entitling Moore and DMA to exemplary damages.



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    135.   Moore and DMA also seek disgorgement of all ill-gotten profits, interests, and funds

    procured by Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch,

    KrisJenn Ranch, LLC–Series Pipeline ROW, and/or Terrill as a result of Wright’s and Black

    Duck’s fraud. Moore and DMA further seek the imposition of a constructive trust on all

    property and proceeds received by Wright and/or his entities in connection with the right-

    of-way, and disgorgement of profits received by Wright and/or his entities (including but not

    limited to KrisJenn Ranch, LLC–Series Pipeline ROW) as a result of their fraud.

                     Claim 7: Aiding and Abetting Fraud (in the alternative)
      (against Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde
            Ranch, KrisJenn Ranch, LLC–Series Pipeline ROW, and/or Terrill)

    136.   The preceding paragraphs are incorporated by reference for this cause of action.

    137.   As explained in Claim VII, Wright and Black Duck made false and material

    misrepresentations to Moore and DMA, and Moore and DMA relied upon those

    representations when Moore resigned from Black Duck and relinquished his ownership

    stake. That reliance was both reasonable and substantial and caused injury to Moore. It was

    also reasonably foreseeable that Moore and DMA would rely on those representations.

    138.   Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch,

    KrisJenn Ranch, LLC–Series Pipeline ROW, and/or Terrill aided and abetted Wright and

    Black Duck’s fraud, through the conduct described above, including the conduct described

    in Claims I, II, IV and V.

    139.   Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and

    KrisJenn Ranch, LLC–Series Pipeline ROW are controlled and/or owned by Wright.

    140.   Wright utilized these entities to aid and abet his fraud.


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    141.     Additionally, Terrill aided and abetted Wright’s fraud by cooperating with Wright’s

    attempts to extend unauthorized loans to Black Duck and with Wright’s attempts to conceal

    the impending sale of the right-of-way from Moore.

    142.     Terrill understood that Wright was concealing material facts from Moore and DMA

    in order to induce Moore and DMA to agree to the February 3 Email Agreement and DMA

    Agreement.

    143.     Terrill aided and abetted Wright’s efforts to defraud Moore and DMA through

    concealment of the impending sale and through Wright’s attempts to take unauthorized

    actions on behalf of Black Duck.

    144.     Terrill also lied to Borders regarding the status of the sale of the right-of-way in order

    to conceal details of the sale from Borders, Moore, and DMA.

    145.     DMA seeks actual damages resulting from these efforts to aid and abet Wright’s

    fraud.

    146.     Moore and DMA also seek disgorgement of all ill-gotten profits, interests, and funds

    procured by Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch,

    KrisJenn Ranch, LLC–Series Pipeline ROW, and/or Terrill as a result of Wright’s and Black

    Duck’s fraud. Moore and DMA also seek the imposition of a constructive trust on all

    property and proceeds received by Wright and/or his entities in connection with the right-

    of-way, and disgorgement of profits received by Wright and/or his entities (including but not

    limited to KrisJenn Ranch, LLC–Series Pipeline ROW) as a result of their fraud.




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                                    Claim 8: Civil Conspiracy
      (against Wright, Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series
          Uvalde Ranch, KrisJenn Ranch, LLC–Series Pipeline ROW, and Terrill)

    147.   The preceding paragraphs are incorporated by reference for this cause of action.

    148.   Wright, Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde

    Ranch, KrisJenn Ranch, LLC–Series Pipeline ROW, and Terrill reached a meeting of the

    minds and intentionally conspired to defraud Moore and DMA in the manner described in

    Claims VI and VIII, including but not limited to the meeting of the minds to cause Black

    Duck to become secretly indebted to Wright and the KrisJenn Ranch entities for the purpose

    of “foreclosing” to exclude Moore from the right-of-way. Terrill, Black Duck, KrisJenn

    Ranch, LLC–Series Pipeline ROW, and Wright also had a meeting of the minds to exclude

    DMA’s net-profits interest in the right-of-way from their transaction.

    149.   Moore and DMA suffered damages that were proximately caused by the unlawful

    acts taken by Wright, Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series

    Uvalde Ranch, KrisJenn Ranch, LLC–Series Pipeline ROW, and Terrill.

                                  Claim 9: Unjust Enrichment
      (against Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde
              Ranch, KrisJenn Ranch, LLC–Series Pipeline ROW, and Terrill)

    150.   The preceding paragraphs are incorporated by reference for this cause of action.

    151.   Wright, Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde

    Ranch, KrisJenn Ranch, LLC–Series Pipeline ROW, and/or Terrill were enriched at DMA’s

    expense.

    152.   That enrichment was unjust for the reasons described herein, and there is no other

    adequate remedy available at law.

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                                   Claim 10: Declaratory Relief
      (against Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde
                  Ranch, and KrisJenn Ranch, LLC–Series Pipeline ROW)

    153.   The preceding paragraphs are incorporated by reference for this claim.

    154.   There exists a genuine, justiciable controversy between DMA and Black Duck

    Properties, LLC, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and

    KrisJenn Ranch, LLC–Series Pipeline ROW about the rights and obligations of the parties

    under the February 3, 2018 Email Agreement and DMA Agreement.

    155.   A declaratory judgment from this Court would resolve that controversy.

    156.   DMA requests that the Court enter a declaratory judgment construing the February

    3, 2018 Email Agreement and DMA Agreement and declaring that DMA received, among

    other things, a 20% net-profits share that attaches and runs with the P-21/Express right-of-

    way and that this interest was received in exchange for Moore’s resignation from Black Duck

    and agreement to surrender of his 50% ownership stake in Black Duck and its assets.

    157.   DMA has incurred costs and reasonable and necessary attorneys’ fees in seeking this

    declaratory judgment and/or in defending against the plaintiff’s declaratory judgment. DMA

    requests all costs recoverable under §37.009 of the Texas Civil Practice and Remedies Code,

    including an award of such reasonable and necessary attorney’s fees as are equitable and just.

                                          Attorneys’ Fees
    158.   DMA seeks to recover its reasonable attorneys’ fees incurred in connection with

    these claims, including under Chapters 37, 38, and 41 of the Texas Civil Practice and

    Remedies Code.




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                    Claims Related to the Bigfoot Note Payments

                                   Claim 1: Breach of Contract
      (KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and KrisJenn
                           Ranch, LLC–Series Pipeline ROW)

    159.   The preceding paragraphs are incorporated by reference for this claim.

    160.   The February 3, 2018 Email Agreement and Harris SWD Agreement are valid,

    enforceable contracts. DMA attaches the February 3, 2018 Email Agreement as Exhibit 3

    and the Harris SWD Agreement as Exhibit 5 to this pleading. Both contracts are incorporated

    by reference.

    161.   By these contracts, Wright, on behalf of himself and Black Duck, agreed that DMA

    would receive “50% carried interest and 50% entitlement” on Bigfoot Energy’s note.

    162.   Among other things, Wright, on behalf of himself and Black Duck, agreed that Black

    Duck—“including its successors and assigns”—would pay DMA 50% of Bigfoot Energy’s

    note payments within three business days of the funds being available.

    163.   By resigning from Black Duck and relinquishing his 50% interest, Moore performed

    or substantially performed his contractual obligations.

    164.   DMA is the intended third-party beneficiary of the February 3, 2018 Email

    Agreement and the Harris SWD Agreement. DMA is a proper party to sue for their breach.

    165.   KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and/or KrisJenn

    Ranch, LLC–Series Pipeline ROW are the successors to Black Duck.

    166.   In addition and alternatively, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series

    Uvalde Ranch, and/or KrisJenn Ranch, LLC–Series Pipeline ROW were assignees of the




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    obligation to pay DMA its portion of Bigfoot Energy’s payments and Black Duck’s 50%

    interest in the Bigfoot Energy note.

    167.   Black Duck Properties, LLC, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series

    Uvalde Ranch, and/or KrisJenn Ranch, LLC–Series Pipeline ROW materially breached the

    February 3, 2018 Email Agreement and the Harris SWD Agreement in multiple respects,

    injuring DMA.

    168.   DMA seeks the amounts due to it under the February 3, 2018 Email Agreement and

    Harris SWD Agreement as well as any other damages.

                                       Claim 2: Conversion
      (KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and KrisJenn
                           Ranch, LLC–Series Pipeline ROW)

    169.   The preceding paragraphs are incorporated by reference for this claim.

    170.   DMA had a right to immediate possession of 50% of Bigfoot Energy’s note payments

    under the February 3, 2018 Email Agreement and Harris SWD Agreement.

    171.   Half of the proceeds from those note payments are DMA’s property.

    172.   Black Duck Properties, LLC, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series

    Uvalde Ranch, and/or KrisJenn Ranch, LLC–Series Pipeline ROW (in addition to Larry

    Wright) wrongfully exercised dominion and control over DMA’s personal property—its 50%

    of the Bigfoot Energy note payments for September 2018, December 2018, March 2019, and

    June 2019—in a manner inconsistent with DMA’s rights.

    173.   Cross-Defendants refused to return DMA’s property on demand. Cross-

    Defendants’ acts amounted to a clear repudiation of DMA’s rights.

    174.   In the alternative, a demand for the return of the property would have been useless.


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    175.    Cross-Defendants’ wrongful acts injured DMA, which resulted in the loss of the use

    of the converted property and the loss of profits from the converted property.

    176.    DMA seeks half of the proceeds from the note payments it is due and compensation

    for its loss of use of the converted property and loss of profits.

    177.    DMA’s injury resulted from the Cross-Defendants’ malice, which entitles DMA to

    exemplary damages.

                                 Claim 3: Money Had and Received
      (KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and KrisJenn
                           Ranch, LLC–Series Pipeline ROW)

    178.    The preceding paragraphs are incorporated by reference for this cause of action.

    179.    Black Duck Properties, LLC, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series

    Uvalde Ranch, and/or KrisJenn Ranch, LLC–Series Pipeline ROW (in addition to Larry

    Wright) hold the entirety of Bigfoot Energy’s September 2018, December 2018, March 2019,

    and June 2019 note payments.

    180.    50% of the proceeds from those note payments belong to DMA in equity and good

    conscience.

    181.    DMA seeks damages in the amount of at least $79,610.73.

    182.    DMA’ injury resulted from the Cross-Defendants’ gross negligence, malice, or

    actual fraud, which entitles DMA to exemplary damages under Texas Civil Practice and

    Remedies Code §41.003(a).

                                 Claim 4: Breach of Fiduciary Duty
      (KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and KrisJenn
                           Ranch, LLC–Series Pipeline ROW)

    183.    The preceding paragraphs are incorporated by reference for this cause of action.

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    184.   Black Duck Properties, LLC and Wright had a fiduciary relationship with DMA.

    Black Duck Properties, LLC and Wright were custodians and agents of payment for the

    amounts belonging to DMA. As described in the Harris SWD Agreement, Black Duck and

    Wright received the entirety of each Bigfoot Energy note payment. Black Duck and Wright

    were then supposed to process Bigfoot Energy’s payment and pay 50% to DMA.

    185.   KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and/or KrisJenn

    Ranch, LLC–Series Pipeline ROW are allegedly the successors of Black Duck or the

    assignees Black Duck’s interest in the Bigfoot Energy note. KrisJenn Ranch, LLC, KrisJenn

    Ranch, LLC–Series Uvalde Ranch, and/or KrisJenn Ranch, LLC–Series Pipeline ROW

    assumed Black Duck and Wright’s fiduciary duty to DMA.

    186.   Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch,

    and/or KrisJenn Ranch, LLC–Series Pipeline ROW (in addition to Larry Wright) breached

    their fiduciary duty to DMA—a duty which includes the duty of loyalty and utmost good

    faith and a duty to refrain from self-dealing.

    187.   Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch,

    and/or KrisJenn Ranch, LLC–Series Pipeline ROW’s breach of fiduciary duty injured DMA

    by depriving DMA of its 50% portion of Bigfoot Energy’s note payments. The breach

    benefited Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch,

    and/or KrisJenn Ranch, LLC–Series Pipeline ROW by allowing these entities to

    misappropriate DMA’ interest in the Bigfoot Energy note and portion of the note payments.

    188.   DMA’s injury resulted from Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch,

    LLC–Series Uvalde Ranch, and/or KrisJenn Ranch, LLC–Series Pipeline ROW’s malice,



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    fraud, or gross negligence, which entitles DMA to exemplary damages under Texas Civil

    Practice and Remedies Code §41.003(a).

                                  Claim 5: Unjust Enrichment
      (KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and KrisJenn
                           Ranch, LLC–Series Pipeline ROW)

    189.   The preceding paragraphs are incorporated by reference for this claim.

    190.   Black Duck Properties, LLC, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series

    Uvalde Ranch, and/or KrisJenn Ranch, LLC–Series Pipeline ROW were enriched at DMA’s

    expense.

    191.   That enrichment was unjust, and there is no other remedy available at law.

                                  Claim 6: Declaratory Relief
      (KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and KrisJenn
                           Ranch, LLC–Series Pipeline ROW)

    192.   The preceding paragraphs are incorporated by reference for this claim.

    193.   There exists a genuine, justiciable controversy between DMA and Black Duck

    Properties, LLC, KrisJenn Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and/or

    KrisJenn Ranch, LLC–Series Pipeline ROW about the rights and obligations of the parties

    under the February 3, 2018 Email Agreement and Harris SWD Agreement.

    194.   A declaratory judgment from this Court would resolve that controversy.

    195.   DMA requests that the Court enter a declaratory judgment construing the February

    3, 2018 Email Agreement and Harris SWD Agreement that DMA has a carried interest in

    and a right to 50% of Bigfoot Energy’s note payments and construing how future note

    payments will be divided and paid.



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    196.   DMA has incurred costs and reasonable and necessary attorneys’ fees in seeking this

    declaratory judgment.

                                        Attorneys’ Fees
    197.   DMA seeks to recover its reasonable attorneys’ fees incurred in connection with

    these claims.

                                  Prayer for Relief
    With respect to the pipeline right-of-way, DMA respectfully requests:

       a. a declaration that DMA received a 20% net-profits share that attaches and runs with
          the P-21/Express right-of-way and that such interest was received in exchange for
          Moore’s resignation from Black Duck and agreement to surrender of his 50%
          ownership stake in Black Duck and its assets;

       b. a judicial declaration as to how DMA’s 20% net-profits share is to be paid going
          forward;

       c. an injunctive order that Wright, Black Duck, KrisJenn Ranch, LLC, KrisJenn Ranch,
          LLC, a Texas Limited Liability Company–Series Uvalde Ranch, and/or KrisJenn
          Ranch, LLC-Series Pipeline ROW specifically perform the February 3, 2018 Email
          Agreement and the DMA Agreement, including the obligation to “execute such
          other and additional legal instruments, consents, ratifications and other matters as
          may be reasonably required in order to effectuate the intent of [the DMA]
          Agreement[;]”

       d. an award of money damages for the loss of, or damage to the value of, the 20% net-
          profits share under the February 3 Email Agreement and DMA Agreement;

       e. an award of money damages for harm resulting from the torts of Wright, Black Duck,
          KrisJenn Ranch, LLC, KrisJenn Ranch, LLC, a Texas Limited Liability Company–
          Series Uvalde Ranch, KrisJenn Ranch, LLC-Series Pipeline ROW, and/or Terrill;

       f. an award of reasonable and necessary attorneys’ fees incurred in this action;

       g. an award of exemplary damages;

       h. the disgorgement of—and/or imposition of a constructive trust on—any profits or
          ill-begotten funds received by Wright, Black Duck, KrisJenn Ranch, LLC, KrisJenn
          Ranch, LLC, a Texas Limited Liability Company–Series Uvalde Ranch, KrisJenn
          Ranch, LLC-Series Pipeline ROW, or Terrill as a remedy for fraud and/or unjust
          enrichment;

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       i. an accounting to determine the amount of funds improperly withheld from DMA in
          connection with profits earned through the right-of-way;

       j.   pre- and postjudgment interest and costs of suit; and/or

       k. any other legal or equitable relief to which DMA may show itself to be justly entitled.

    With respect to the Bigfoot note payments, DMA respectfully requests:

       a. a judicial declaration that DMA has a carried interest in and a right to 50% of Bigfoot
          Energy’s note payments;

       b. a judicial declaration as to how Bigfoot Energy’s future note payments are to be paid;

       c. an award of the money Bigfoot Energy paid into the registry of the Panola County
          court registry and an award of monetary damages so that DMA receives its share of
          Bigfoot Energy’s note payments from September 2018 to present and is compensated
          for its injuries;

       d. an award to Bigfoot Energy of the reasonable and necessary attorneys’ fees incurred
          in this action out of any funds—either in the Panola County court registry or as part
          of future note payments—due to Black Duck Properties, LLC, KrisJenn Ranch, LLC,
          KrisJenn Ranch, LLC–Series Uvalde Ranch, and/or KrisJenn Ranch, LLC–Series
          Pipeline ROW;

       e. an award to DMA of its reasonable and necessary attorneys’ fees incurred in
          defending this action and asserting cross-claims;

       f. an award of exemplary damages against Black Duck Properties, LLC, KrisJenn
          Ranch, LLC, KrisJenn Ranch, LLC–Series Uvalde Ranch, and/or KrisJenn Ranch,
          LLC–Series Pipeline ROW;

       g. the imposition of a constructive trust on Bigfoot Energy’s note payments as a remedy
          for breach of fiduciary duty and unjust enrichment;

       h. pre- and postjudment interest and costs of suit; and/or

       i. any other legal or equitable relief to which DMA may show itself to be justly entitled.




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                                                            CERTIFICATE OF SERVICE

             I hereby certify that a true and correct copy of the foregoing document was served on
    all counsel of record by way of e-service through the CM/ECF system by notice of electronic
    filing or via email on the 1st day of June 2020:

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